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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                   Plaintiff,                                   8:11CR178

      vs.
                                                      MEMORANDUM AND ORDER
MICHAEL FRENCH,

                   Defendant.


      This matter is before the court on the defendant's unopposed motion for a

sentence reduction, Filing No. 71. This is a motion filed pursuant to Amendment 782 to

the United States Sentencing Guidelines, (sometimes called the “drugs minus two” or

the “2014 drug guidelines amendment”) which reduces offense levels assigned in the

Drug Quantity Table by two levels, resulting in lower guideline ranges for many drug

trafficking offenses. See U.S.S.G. § 1B1.10(d) & (e)(1) (Nov. 1, 2014). The Sentencing

Commission has given retroactive effect to the amendment.          Id., U.S.S.G., App. C

(Supp.), amendment 788 at 87-88.

      The parties stipulate that the retroactive amendment to the drug quantity table

changes the total adjusted offense level in the defendant's case from 29 to 27 and the

defendant's guideline range from 140 to 175 months to 120 to 150 months

imprisonment. Filing No. 72, Stipulation. The government and the defense agree that

the new reduced sentence under the amended guidelines should be 82 months based

on the prior computation of specific offense characteristics, adjustments, and any

departures. Id. The parties further agree that the defendant may be re-sentenced
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without being present and without further notice and that any supervised release should

be the same term and conditions as originally decided. Id.

      In consideration of the factors set out in 18 U.S.C. § 3553(a), the court finds that

a sentence reduction will satisfy the goals of sentencing in this case. The court has

considered the nature and circumstances of the offense, the characteristics of the

offender, public safety, deterrence, and the sentencing guidelines in making this

decision.   In connection with public safety, the court has reviewed the defendant's

record while in prison and considered whether a reduction in defendant's sentence

poses a danger to any person or to the community.

      The record shows that the defendant is eligible for a 14 month reduction in

sentence, resulting in a new sentence of 82 months. See Filing No. 68, Retroactive

Sentencing Worksheet (restricted).

      Accordingly, it is hereby ordered that:

      1.      The defendant's unopposed motion for a sentence reduction (Filing No.

71) is hereby granted.

      2.      The parties’ stipulation regarding sentence reduction (Filing No. 72) is

approved.

      3.      An Order Regarding Motion For Sentence Reduction Pursuant To 18

U.S.C. § 3582(C)(2) will issue this date, effective November 2, 2015.

      Dated this 22nd day of June, 2015.

                                                BY THE COURT:
                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge



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